
USCA1 Opinion

	





                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT


                        
                                 ____________________


        No. 95-1132 

                               PETER N. GEORGACARAKOS,

                                     Petitioner,

                                          v.

                                     J.D. LAMER,

                                     Respondent.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. Morton A. Brody, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Selya and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Peter N. Georgacarakos on brief pro se.
            ______________________
            Jay P. McCloskey, United States  Attorney, and Michael  M. DuBose,
            ________________                               __________________
        Assistant United States  Attorney, on motion for summary dismissal for
        appellee.



                                 ____________________

                                   August 16, 1995
                                 ____________________























                      Per  Curiam.    Appellant  Peter  N.  Georgacarakos
                      ___________

            appeals  from the denial of  a motion to  vacate his sentence

            filed under 28 U.S.C.   2255.  After reviewing the record and

            the parties'  briefs, we affirm the judgment  of the district

            court  for the  reasons set  forth in  the December  13, 1994

            Recommended Decision of the  magistrate judge (adopted by the

            district  court  judge on  December 27,  1994).   We  add the

            following comments.

                      First, it  is clear that appellant's  claims in the

            current    2255 motion are  based on the  same ground as  the

            claim he  presented  in the  previous    2255  proceeding  --

            counsel provided ineffective assistance  by failing to  raise

            an  entrapment defense.  Thus, the district court did not err

            in  dismissing appellant's  motion as  successive.   See Rule
                                                                 ___

            9(b), Rules Governing Section  2255 Proceedings in the United

            States District Courts ("[a]  second or successive motion may

            be dismissed if the  judge finds that it fails to  allege new

            or different  grounds for relief and  the prior determination

            was on the merits").

                      Second, appellant's assertion that his attorney did

            not present  any defense at  trial plainly is  wrong; counsel
                         ___

            specifically argued that venue was not proper in the district

            of  Maine.  That we  rejected this argument  on direct appeal

            does not  transform appellant's trial  into one  of which  it

            could be said that no defense was mounted.  As a result, even



















            if  we  were to  consider appellant's     2255 motion  on the

            merits, it would fail.

                      Affirmed.
                      ________















































                                         -3-









